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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
______________________________________________________________________________


ROW VAUGHN WELLS, Individually
and as Administratrix of the
Estate of Tyre Deandre Nichols, deceased,

       Plaintiff,

v.                                                         Case No. 2:23-cv-02224-MSN-atc
                                                           JURY DEMAND

THE CITY OF MEMPHIS, a municipality;
CHIEF CERELYN DAVIS, in Her Official
Capacity; EMMITT MARTIN III, in His
Individual Capacity; DEMETRIUS HALEY,
in His Individual Capacity; JUSTIN SMITH,
in His Individual Capacity; DESMOND MILLS,
JR., in His Individual Capacity; TADARRIUS
BEAN, in His Individual Capacity; PRESTON
HEMPHILL, in His Individual Capacity;
ROBERT LONG, in His Individual Capacity;
JAMICHAEL SANDRIDGE, in His Individual
Capacity; MICHELLE WHITAKER, in Her
Individual Capacity; and DEWAYNE SMITH,
in His Individual Capacity and as an Agent of the
City of Memphis,

      Defendants.
______________________________________________________________________________

                         ORDER REFERRING MOTION
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       Before the Court is Defendant City of Memphis’s Motion to Compel and/or Certify

Plaintiff’s Responses to City’s First Set of Interrogatory Requests and First Set of Requests for

Production of Documents (“Motion”) (ECF No. 217) filed October 9, 2024. This Motion is hereby

REFERRED to the United States Magistrate Judge for determination or for proposed findings and

recommendation, as appropriate.
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  IT IS SO ORDERED, this 10th day of October, 2024.


                                          s/ Mark S. Norris
                                          MARK S. NORRIS
                                          UNITED STATES DISTRICT JUDGE




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